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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE                                      )  CHAPTER 13
                                            )
       JERRI Z. FARMER,                     )  CASE NO.: 21-12958-MDC
                              Debtor        )
 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ )
 ALLY BANK LEASE TRUST - ASSIGNOR TO )
 VEHICLE ASSET UNIVERSAL LEASING            )
 TRUST (A.K.A. "VAULT TRUST", OR            )
 "V.A.U.L. TRUST", OR "VAULT", OR           )  HEARING DATE:
 "V.A.U.L.T."),                             )  Tuesday, January 23, 2024
                              Movant        )  10:30 A.M.
                  vs.                       )
                                            )
 JERRI Z. FARMER,                           )
                              Respondent(s) )
             and                            )  LOCATION:
                                            )  900 Market Street, Suite 400
 KENNETH E. WEST                            )  Courtroom No. 2
                              Trustee       )  Philadelphia, PA 19107
                                            )
                      MOTION FOR RELIEF FROM AUTOMATIC STAY

         AND NOW, comes the above-captioned Movant, Ally Bank Lease Trust - Assignor to Vehicle

 Asset Universal Leasing Trust (a.k.a. "VAULT T RUST", or "V.A.U.L. Trust", or "VAULT", or
 "V.A.U.L.T."), by and through their attorney, Regina Cohen, who files this Motion based upon the

 following:

         1.    The Movant is a corporation having a principal place of business located at 1234 Main,
 Desoto, T X 75115.

         2.    The Respondent, Jerri Z. Farmer is an individual with a mailing address at 415 E. Chestnut

 Street, Coatesville, PA 19320, who has filed a Petition on October 29, 2021 under Chapter 13 of the

 Bankruptcy Code.

         3.    On or about January 02, 2019, Debtor Jerri Z. Farmer entered into a Motor Vehicle Lease

 Agreement, involving a lease in the amount of $21,018.96 for the use of a 2019 Jeep Cherokee Utility

 4D Latitude Plus 4WD 2.4L I4.
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        4.     The vehicle secured by the Contract has V.I.N. 1C4P JMLB0KD354838.

        5.     Movant is the assignee of the Lease Agreement.

        6.      The lease obligation is in the amount of $1,831.79, through December 20, 2023 though

 subject to change. This amount does not include the Purchase Option of $15,841.70. Lease matures on

 May 01, 2022. The regular monthly payment is $583.86.

        7.     Applying payments received to the earliest payment due, payments have been missed post-

 petition, since March 02, 2022 in the amount of $1,141.44, plus all applicable interest, attorneys' fees and

 costs plus Pre-Petition Payments of $596.10.

        8.     The Movant has been notified that the above mentioned personal property was impounded

 on November 10, 2023.

        9.     Lease expired on May 01, 2022.

        10.    The Property has a N.A.D.A. Value of $21,000.00.

        11.    The Contract has matured and the whole balance must be paid in full.

        12.    The vehicle is not necessary to an effective reorganization.

        13.    The Movant is the only lienholder of record with regard to the vehicle.

        14.    In order to proceed with repossession of the vehicle, relief from the automatic stay must be
 obtained.

        15.    Failure to make adequate protection payments is cause for relief from the automatic stay.

        16.    The Movant has incurred attorney's fees in the filing of this Motion.

        17.    The vehicle is a rapidly depreciating asset. Movant requests the waiver of Rule 4001(a)(3).
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       WHEREFORE, Movant prays for your Honorable Court to enter an Order permitting the Movant

 to proceed with the repossession proceedings of the aforementioned vehicle.

                                                     Respectfully submitted,
                                                     Lavin, Cedrone, Graver, Boyd & DiSipio
                                                     /s/ Regina Cohen
                                                     Regina Cohen
                                                     Attorney for Movant
                                                     Suite 500 190 North Independence Mall West 6th &
                                                     Race Streets
                                                     Philadelphia, PA 19106
                                                     (215) 351-7551
